Case: 3:03-cv-50195 Document #: 17 Filed: 05/29/03 Page 1 of 1' Page|D #:104

Minute O‘rdcr Forrn (06."97)

United States District Court, Northern District of Illinois

 

 

 

 

 

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amcgolegi.sl;gl:nte lodge Phlhp G Relnhard tl:angAssiggned Judge
_ CASE NUMBER 03 C 50195 DATE 5/29/2003
CASE - Rayrnond vs. Blagojevich, et al.
TITLE

 

 

[In the following box (a) indicate the party filing the motion, e.g., plai'ntiff, defendant, 3rd party plaimiff, and (b) state briefly the
nature of the motion being presented.]

MOUON; n

 

 

 

 

 

 

 

15 DOCKET ENTRY;
(1) ill Filed motion of [ use listing in “Motion” box above.]
(2) |:| Brief in support of motion due
(3) l:| Answer brief to motion duem. Reply to answer brief clue___
(4) |:l Ruling!Hearing on m_____ set for __ at
_ (5) |I| Status hearing[held/continued to] [set for/re-set for] on set for at
i (6) |:l Pretrial conference[held/continued to] [set for/re-set for] on __ set for _______ at _____
l . (7) EJ Trial[set for/re-set for] on ______ at
(8) E] [Bench/.lury trial] [Hearing] held/continued `to `_ at
(9) l`_'| This case is dismissed [with/without] prejudice and without costs{by/agreement/pursuant to]
[J FRCP4(m) |I] General Rule 21 |I| FRCP41(a)(1) \Il FRCP41(a)(2).
(10) l [Other docket entry] Rod R. Blagojevich’s motion to dismiss is granted, and he is dismissed

from this case With prejudice Hearing on motion for temporary restraining order held and continued
to 2:00 p.m. on June 2, 2003. Counsel for Attorney General should be prepared to present the evidence
as stated in open court.

(11) El [For further detail see order (on reverse side of/attached to) the orig&i/!G£ oérde`r.]

/ No notices required, advised in open court.

 

 

  
  
   
 

 

No notices required. 1
number of notices

 

Notices mailed by judge’s staff. '
Notit”led counsel by telephone MAY da;d§klguua
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